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                                                 UNITED STATES DISTRICT
                                          FOR THE EASTERN DISTRICT OF MICHIGAN
                                                   SOUTHERN DIVISION

                            BRUCE MEYERS, et al.
                                Plaintiffs,                                   Case No.: 17-cv-10623
                                                                            Honorable Denise Page Hood
                                  v.
                                                                                      MOTION
                            VILLAGE OF OXFORD, et al,
                                 Defendants
                                                                 /

                            OUTSIDE LEGAL COUNSEL PLC                    JOHNSON, ROSATI, SCHULTZ &
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                               PLAINTIFFS’ MOTION FOR ENTRY OF ORDER COMMANDING AN
                                 ANSWER AND ISSUANCE OF CASE MANAGEMENT ORDER

                                  NOW COMES Plaintiffs BRUCE MEYERS, KALLIE ROESNER-

                            MEYERS, and EUGENIA CALOCASSIDES, by and through counsel, moves

                            for entry of an order to command Defendants to answer the First Amended

                            Complaint and for this Court to issue a Case Management Order. The

                            undersigned has attempted to confer with both Mr. Young and Ms. Brown by

                            telephone on September 18, 2018 and neither were available to discuss the

                            relief sought by this motion. See E.D. Mich. LR 7.1(a).

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                                     CONCISE STATEMENT OF THE ISSUES PRESENTED

                                  Should Defendants now answer the First Amended Complaint?

                                       Should this Court issue a Case Management Order?
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                                         CONTROLLING / APPROPRIATE AUTHORITY

                                                     Fed.R.Civ.P. 12(a)(4)(A)

                                                     Fed.R.Civ.P. 16(b)(1)(B)
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                                                                     BRIEF

                                  On August 31, 2017, this Court granted Defendants’ Rule 12(b)(6)

                            motion and issued a judgment in their favor. ECF Nos. 22-23. Plaintiffs

                            appealed and the Sixth Circuit reversed via a written opinion issued on June

                            27, 2018, ECF No. 27. After the petition en banc was rejected, the mandate

                            issued on August 30, 2018.1 Since then, Defendants have not answered the

                            First Amended Complaint. The usual practice requires a party-defendant to
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                            answer within 14 after denial of a Rule 12(b)(6) motion. Fed.R.Civ.P.
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                            12(a)(4)(A). The Sixth Circuit’s mandate effectively does that. As such, an

                            answer is now needed.

                                  In addition, the Eastern District’s usual and customary practice is to

                            also issue a “case management order”2 setting the deadlines under the case.

                            It is mandatory under the Federal Rules of Civil Procedure that some sort of

                            “scheduling order” be issued normally after a scheduling conference. See

                            Fed.R.Civ.P. 16(b)(1)(B).




                                  1   “A mandate is the document by which [the Sixth Circuit] court relinquishes
                            jurisdiction and authorizes the originating court or agency to enforce [the Sixth Circuit]
                            court’s judgment. 6 Cir. I.O.P. 41(a)(1)
                                    2 See http://www.mied.uscourts.gov/altindex.cfm?pagefunction=practiceguideline

                            &judgeID=14&pgid=4

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                                                      RELIEF REQUESTED

                                  WHEREFORE, the Court is requested to command Defendants to file

                            an answer to the First Amended Complaint and issue a case management

                            order needed consistent with Federal Rule of Civil Procedure 16.

                            Date: September 18, 2018           RESPECTFULLY SUBMITTED:

                                                               /s/ Philip L. Ellison
                                                               PHILIP L. ELLISON (P74117)
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                                                   CERTIFICATE OF SERVICE

                                  I hereby certify that on date stated below, I filed the foregoing

                            document with the ECF/CM system which will serve an email copy of the

                            same to all counsel of record (at their email address of record) on the date

                            stated below.

                            Date: September 18, 2018           RESPECTFULLY SUBMITTED:

                                                               /s/ Philip L. Ellison
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